                                                                   Case 9:16-bk-11912-DS            Doc 115 Filed 11/18/16 Entered 11/18/16 15:14:23                          Desc
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                                                                   7   Attorneys for Channel Technologies Group, LLC,
                                                                       Debtor and Debtor in Possession
                                                                   8
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                  NORTHERN DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   In re:                                                      Case No.: 9:16-bk-11912-PC
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                               Chapter 11
                                           ATTORNEYS AT LAW




                                                                       CHANNEL TECHNOLOGIES GROUP, LLC,1
                                                                  14                                                               SUBMISSION OF AMENDMENT TO
                                                                                                            Debtor.                SCHEDULES F & G
                                                                  15
                                                                                                                                   [No Hearing Required]
                                                                  16

                                                                  17            Channel Technologies Group, LLC, debtor and debtor in possession herein, hereby submits

                                                                  18   this Amendment to Schedules F and G.

                                                                  19
                                                                       Dated:     November 18, 2016                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                  20

                                                                  21
                                                                                                                       By:     /s/ Jeffrey W. Dulberg
                                                                  22                                                           Jeffrey W. Dulberg
                                                                  23                                                           Attorneys for Channel Technologies Group, LLC,
                                                                                                                               Debtor and Debtor in Possession
                                                                  24

                                                                  25

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                                                                  27
                                                                       1
                                                                  28    The last four digits of the Debtor’s Tax Identification Number are: 0460. The Debtor’s mailing address is: 879 Ward
                                                                       Drive, Santa Barbara, CA 93111.


                                                                       DOCS_LA:302466.1 13817/002
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Fill in this information to identify the case:

Debtor name           Channel Technologies Group, LLC

United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)              9:16-bk-11912-PC
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $       15,421,804.14

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $       15,421,804.14


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,860,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           282,636.47

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,491,291.13


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,633,927.60




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Debtor name        Channel Technologies Group, LLC

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)           9:16-bk-11912-PC
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $40,800.00
          Alion                                                                Contingent
          100 Burr Ridge Parkway Suite 202                                     Unliquidated
          Willowbrook, IL 60527-0845                                           Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Advance - Prior to 10/14/2016
          Last 4 digits of account number
                                                                            Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $43,983.00
          Alta Properties, Inc.                                                Contingent
          Attn: General Counsel                                                Unliquidated
          P.O. Box 90326                                                       Disputed
          Santa Barbara, CA 93190-0326
                                                                            Basis for the claim: Tax Reimbursement
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $275,000.00
          BAE                                                                  Contingent
          65 River Road Bldg                                                   Unliquidated
          PTP-02 Receiving                                                     Disputed
          Hudson, NH 03051-5228
                                                                            Basis for the claim: 8/26/2016- Date amount was paid by customer
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $21,179.60
          Kayo Denshi Co                                                       Contingent
          5-19-13 Suneori-cho                                                  Unliquidated
          Tsurugashima Saitama 350-2211                                        Disputed
          Japan
                                                                            Basis for the claim: Advance - Prior to 10/14/2016
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 2
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Debtor       Channel Technologies Group, LLC                                                        Case number (if known)            9:16-bk-11912-PC
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $30,459.79
          Leidos                                                              Contingent
          22635 Davis Drive, Suite 160                                        Unliquidated
          Sterling, VA 20164                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Advance - Prior to 10/14/2016
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $14,998.00
          Phoenix Intl Holdings                                               Contingent
          9301 Largo Drive West                                               Unliquidated
          Upper Marlboro, MD 20774                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Advance - Prior to 10/14/2016
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $69,000.02
          Science Application International                                   Contingent
          1710 SAIC Drive                                                     Unliquidated
          Mc Lean, VA 22102                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Advance - Prior to 10/14/2016
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,075.00
          Turkana                                                             Contingent
          1315 116 Ave SW                                                     Unliquidated
          Calgary, AB T2W 2G4                                                 Disputed
          Canada
                                                                           Basis for the claim: Advance - Prior to 10/14/2016
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       497,495.41

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          497,495.41




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name       Channel Technologies Group, LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)     9:16-bk-11912-PC
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Standard
           lease is for and the nature of        Industrial/Commercial
           the debtor's interest                 Single Tenant Lease
                                                 with Channel
                                                 Technologies Group,
                                                 Inc., the predecessor in
                                                 interest to Alta
                                                 Properties, Inc., the
                                                 present landlord, for
                                                 three commercial
                                                 buildings comprising a
                                                 total of approximately
                                                 126,293 square feet of
                                                 space for general
                                                 office, research and
                                                 development,
                                                 manufacturing and
                                                 assembly located at
                                                 839, 859/861 and
                                                 869/879 Ward Drive,
                                                 Santa Barbara, CA
                                                 93111. The lease
                                                 commenced on
                                                 December 29, 2011 and
                                                 expires on December
                                                 22, 2023.
               State the term remaining                                             Alta Properties, Inc.
                                                                                    Attn: General Counsel
           List the contract number of any                                          P.O. Box 90326
                 government contract                                                Santa Barbara, CA 93190-0326




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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